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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NORTH DAKOTA

In re:                                               Bky. Case No.: 16-30672
                                                     Chapter 7
Vortex Drain Tiling, LLC,
                                                      NOTICE AND MOTION
                                                      FOR APPROVAL OF
            Debtor.                                   STIPULATION AGREEMENT
________________________________

Erik Ahlgren, Trustee of the bankruptcy estate of McM, Inc Bky Case No. 17-30061(“McM”), respectfully
requests that the Court approve a Stipulation Agreement entered into with Forrest C. Allred, Chapter 7
Trustee of the bankruptcy estate of Vortex Drain Tiling, LLC Bky Case. 16-30672 (“Vortex”), dated
January 24, 2018. The Stipulation Agreement, in essential part, provides as follows:

Vortex (the “Debtor”) pursuant to a Contract for Deed (‘Contract”) dated December 1, 2014, agreed to
pay McM, $146,072.50 in exchange for real estate in the County of Grand Forks, in the State of North
Dakota legally described as: Lots Three (3) and Four (4), Block Two (2), Senske’s Second Addition, to
the City of Grand Forks, North Dakota. The Contract was filed on December 23, 2014 as Document No.
749369 with the Grand Forks County Recorder. On October 1, 2016, McM sent Vortex a notice stating
that $22,883.18 was owed on the Contract. Vortex has not made a payment to McM since that notice
was sent. The Contract provides that interest will accrue at 5% on the unpaid principal balance and
that payments received after the due date will be subject to a late payment service charge of $250.00. As
of January 31, 2018, the total amount due under the Contract is Principal of $21,913.63, Interest of
$1680.55 and Late Fees totaling $4,500.00. Trustee Ahlgren and Trustee Allred (the “Parties”) believe
that the property has a fair market value in excess of $100,000.00. The Parties agree that the trustee of
the McM, Inc bankruptcy estate is entitled to relief from the automatic stay to pursue the cancellation of
the Contract and any other legal remedy available to McM as seller under the Contract. The Parties
acknowledge that the trustee of the Vortex bankruptcy estate is entitled to a one year period during
which he may sell the Property and cure the defaults. The Parties agree that if the Property is not sold
and the defaults not cured under the Contract as of March 1, 2019 the Property shall revert back to
McM,which shall hold title free and clear of any interest of Vortex.

A copy of the Stipulation Agreement may be obtained by contacting Erik Ahlgren by email
erik@ahlgrenlaw.net or phone 218-998-2775.

NOTICE OF MOTION: Your rights may be affected in this action. You should read these papers
carefully and discuss the matters with your attorney if you have one. Any objections to this motion must be
made within 21 days of this date with an original filed with the Clerk of Bankruptcy Court and copies
served upon the Bankruptcy Trustee and United States Trustee at the addresses stated below. Failure to
timely respond to this motion will be deemed a waiver of any objections and the Court will grant such relief
as it deems appropriate.

Clerk, U.S. Bankruptcy Court             United States Trustee            Trustee, Forrest C. Allred
Quentin N. Burdick U.S. Courthouse       314 South Main Ave.              14 2nd Ave SE ste 200

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655 First Ave. N. – Suite 210         Suite 303                    Aberdeen SD 57401
Fargo, ND 58107-4932                  Sioux Falls, SD 57104-6462

DATE OF MAILING: February 5, 2018         /s/ Erik Ahlgren
                                          Erik Ahlgren
                                          Ahlgren Law Office, PLLC
                                          220 W Washington Ave Ste 105
                                          Fergus Falls MN 56537
                                          218-998-2775




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